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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
PERKINS COIE, LLP,
            Plaintiff,
      v.                                      Case No. 1:25-cv-00716-BAH
U.S. DEPARTMENT OF JUSTICE, ET AL,            Hon. Beryl A. Howell
            Defendants.


 UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE
  FRED T. KOREMATSU CENTER FOR LAW AND EQUALITY, SERVICE
 EMPLOYEES INTERNATIONAL UNION, AMERICAN FEDERATION OF
TEACHERS, AMERICAN ASSOCIATION OF UNIVERSITY PROFESSORS,
 CENTER FOR CIVIL RIGHTS AND CRITICAL JUSTICE, CENTER FOR
   LAW, EQUITY AND RACE, CENTER FOR RACIAL AND ECONOMIC
   JUSTICE, CENTER ON LAW, RACE & POLICY, CENTER ON RACE,
INEQUALITY, AND THE LAW, GIBSON-BANKS CENTER FOR RACE AND
  THE LAW, THE LAWYERING PROJECT, AUTISTIC SELF ADVOCACY
   NETWORK, BAZELON CENTER FOR MENTAL HEALTH LAW, AND
       DISABILITY LAW UNITED IN SUPPORT OF PLAINTIFF
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                     CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 7.5(e), counsel

for Movants certifies that the Fred T. Korematsu Center for Law and Equality and

other organizational amici are not a publicly held corporations, do not have parent

corporations, and that no publicly held corporation owns 10 percent or more of their

stock.

             MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF

         Pursuant to Local Civil Rule 7(o), the Fred T. Korematsu Center for Law and

Equality, Race and Law Centers, Civil Rights Organizations, and Labor Unions (col-

lectively “Amici”) respectfully move the Court for leave to file the attached brief as

amici curiae in support of Plaintiff Perkins Coie LLP’s motion for summary judgment.

The Parties do not oppose this motion.

   I.       Interests of Amici

         Amici are Race and Law Centers from law schools across the country engaged

in research, advocacy, and education regarding issues of race and the law; Service

Employees International Union (SEIU), which advances worker rights and has over

150 affiliates and representing approximately two million members in healthcare,

the public sector, and property services; the American Federation of Teachers (AFT),

a union with more than 3,000 local affiliates nationwide and representing 1.8 million

members who are America’s educators, school and higher education staff, nurses,

healthcare professionals, and public employees; the American Association of Univer-

sity Professors (AAUP), a membership association of faculty and academic profession-

als with chapters at colleges and universities throughout the country, which advances

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academic freedom and economic security of academic workers; and legal advocacy

organizations dedicated to defending human and civil rights rights. Amici have a

common interest in supporting the rule of law and upholding the Constitution and

the liberties it protects.

       a. Race and Law Centers

       The Fred T. Korematsu Center for Law and Equality (“Korematsu Cen-

ter”) is a non-profit organization based at the University of California, Irvine School

of Law. Inspired by the legacy of Fred Korematsu, who defied military orders during

World War II that ultimately led to the unlawful incarceration of over 120,000 Japa-

nese Americans, the Korematsu Center works to advance social justice for all. In ad-

dition to having a deep commitment to the rule of law and ensuring that lawyers and

law firms remain free to advocate for their clients without fear of retaliation by the

government, the Korematsu Center has a special interest in ensuring that actions

taken for national security reasons remain bounded by the constitution. The Kore-

matsu Center does not, in this brief or otherwise, represent the official views of the

University of California, Irvine School of Law.

       The Center for Civil Rights and Critical Justice (“CCRCJ”) is based at

Seattle University School of Law and works to achieve a legal system where both

historical and present-day racism, oppression, and marginalization no longer control

outcomes or otherwise contribute to inequality. CCRCJ educates future lawyers to be

agents for social change and racial equality in all areas of the law, advocates for ad-

vancement of the law to achieve equal justice, and produces research to drive effective

reform by revealing systems of oppression and exclusion. CCRCJ has a special

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interest in ensuring the rule of law and, given the pro bono work undertaken by

CCRCJ’s Civil Rights Clinic, in ensuring the fundamental freedom of advocates to

representent their clients in politically charged matters without fear of reprisal.

CCRCJ does not, in this brief or otherwise, represent the official views of Seattle Uni-

versity.

      The Center for Law, Equity and Race (“CLEAR”) was established by North-

eastern University School of Law to address challenges from the role of the law and

legal systems in creating and perpetuating racial inequalities and disparities.

CLEAR addresses the challenge by providing interdisciplinary, hands-on advocacy,

learning opportunities, research, legislative engagement, and community outreach.

As a result, CLEAR has a strong interest in ensuring that lawyers and the legal com-

munity remain free to advocate for their clients without fear of retaliation by the

government. In addition, CLEAR has a special interest in ensuring that actions taken

for national security reasons remain bounded by the constitution. The Center for

Law, Equity and Race joins this brief to provide important context for the position

that the rule of law and advocacy must be protected. CLEAR does not, in this brief or

otherwise, represent the official views of Northeastern University or Northeastern

University School of Law.

      The Center for Racial and Economic Justice is based at UC Law San

Francisco. The mission of the Center for Racial and Economic Justice is to advance

equity and justice through legal education, research and scholarship, and academic-

community partnerships and collaborations. The Center for Racial and Economic Jus-

tice does not, in this brief or otherwise, represent the official views of UC San Law.

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      The Duke University School of Law Center on Law, Race & Policy (the

“Center”) is a nonpartisan, nonprofit university-based center that supports research,

public engagement, teaching, and programs related to race, law, policy, and people.

The Center has an ongoing commitment to fostering racial equity by promoting ma-

terial change in law and public policy, focusing on education, knowledge production,

and community engagement. Accordingly, the Center joins this brief in ensuring the

fundamental freedom of advocates to represent their clients without fear of retalia-

tion. The Center does not, in this brief or otherwise, represent the official views of

Duke University or Duke University School of Law.

      The Center on Race, Inequality, and the Law at New York University

School of Law works to highlight and dismantle structures and institutions that have

been infected by racial bias and plagued by inequality. The Center fulfills its mission

through public education, research, advocacy, and litigation focused on ensuring the

fair administration of justice. No part of this brief purports to represent the views of

New York University School of Law or New York University.

      The Gibson-Banks Center for Race and the Law (“the Gibson-Banks Cen-

ter” or “Center”) at the University of Maryland Francis King Carey School of Law

(“Maryland Carey Law”) works collaboratively to reimagine and transform institu-

tions and systems of racial and intersectional inequality, marginalization, and op-

pression. Through education and engagement, advocacy, and research, the Gibson-

Banks Center examines and addresses racial inequality and advances racial justice

in a variety of focus areas. Named after Larry Gibson and Taunya Lovell Banks, the

first Black man and woman to become tenured professors at Maryland Carey Law,

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the Center is committed to preparing law students for productive and professional

roles in the legal profession where they represent their clients free from retaliation

from governmental officials. This amicus brief is submitted on behalf of the Gibson-

Banks Center and not on behalf of Maryland Carey Law or the University of Mary-

land, Baltimore.

      b. Unions and Associations

      Service Employees International Union (“SEIU”) represents approxi-

mately two million members in healthcare, the public sector, and property services.

SEIU has over 150 affiliates across the United States, Puerto Rico, and Canada. SEIU

members include long-term care workers, physicians and other healthcare workers,

janitors, security officers, airport workers, librarians, childcare workers, educators,

fast food workers, employees who work for city, county, and federal governments, and

many more. Our work is guided by our vision for a just society where all workers are

valued and all people respected—no matter where we are from or the color of our

skin, where all families and communities can thrive, and where we leave a better and

more equitable world for generations to come. SEIU has significant familiarity with

the critical need for and importance of zealous legal advocacy of issues that advance

our members’ interests, particularly when those interests are either not served by the

government or, alternatively, under threat by the government.

      The American Federation of Teachers (“AFT”) was founded in 1916 and

today represents 1.8 million members. AFT members include preK-12 educators,

paraprofessionals, higher education faculty and administrative staff, nurses and

health care workers, and public employees. The AFT’s mission is to champion

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fairness, democracy, and economic opportunity in and through high-quality public

education, as well as healthcare and public services for students, their families, and

communities their members serve. The AFT does so by ensuring its members receive

fair pay and benefits for their crucial work, by fighting for safe working conditions

that also benefit students, patients and all those who use public services, and by

fighting for civil rights.

       The American Association of University Professors (“AAUP”) is a mem-

bership association of faculty and academic professionals with chapters at colleges

and universities throughout the country. AAUP is committed to advancing academic

freedom and shared governance, defining fundamental professional values and stand-

ards for higher education, promoting the economic security of academic workers, and

ensuring higher education’s contribution to the common good. AAUP often opposes

US government policies as a plaintiff organization, see Nat’l Ass’n of Diversity Officers

in Higher Educ.et al v. Trump, --- F. Supp. 3d ---, 2025 WL 573764, at *29 (D. Md.

Feb. 21, 2025); American Sociological Association et al v. Chertoff, 588 F. Supp. 2d

166 (D. Mass. 2008); and by submitting and joining amicus briefs. See Barenblatt v.

United States, 360 U.S. 109 (1959); Trump v. Hawaii, 138 S. Ct. 2392 (2018).

       c. Advocacy Organizations

       The Lawyering Project is a nonprofit legal advocacy organization that

blends traditional impact litigation with movement lawyering to promote reproduc-

tive health, rights, and justice throughout the United States.

       The Autistic Self Advocacy Network is the largest and oldest advocacy or-

ganization run by and for the autistic community. We promote the interests of autistic

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people and others with intellectual and developmental disabilities. Litigation has

been integral to expanding the legal rights of Americans with disabilities. For this

reason, permitting governmental pressure on legal organizations because they serve

clients who may need to bring court challenges against actions by government enti-

ties would set a dangerous precedent for the people we serve. Any such development

could severely curtail our constituents' ability to enforce their rights.

      Since 1972, the Judge David L. Bazelon Center for Mental Health Law

has advocated for the civil rights, full inclusion, and equality of adults and children

with mental disabilities. We secured early legal precedents creating basic civil rights

for people with mental disabilities—including the rights to a public education, receive

services in community-based settings instead of institutions, and make decisions

about one’s own care. The Center played a key role in the historic case of Olmstead v.

L.C. (1999), in which the Supreme Court found that needless segregation of people

with psychiatric disabilities violates federal law. None of this would have been possi-

ble without pro bono support from private law firms, like Perkins Coie, who co-coun-

sel on our cases and provide critical support and resources to our work.

      Disability Law United (DLU) is a national nonprofit legal organization

whose mission is to defend human and civil rights secured by law, focusing on inter-

sectional disability justice. The neutral and ethical practice of law is the foundation

of democracy and civil rights, and it is threatened by the recent executive orders tar-

geting law firms for representing clients or taking positions that the government does

not like. If these executive orders are allowed to stand, than any firm or organization

could be next, including our own. As an organization of civil rights lawyers, DLU

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believes it is our responsibility to speak out against the federal government's abuse

of its power represented by punishing law firms for practicing law.

   II.      Argument

         While the Federal Rules of Civil Procedure do not address a specific procedure

governing motions for leave to appear as amicus curiae in federal district court, dis-

trict courts have “inherent authority” to grant participation by an amicus curiae,

which is derived from Federal Rule of Appellate Procedure 29. See Jin v. Ministry of

State Sec., 557 F. Supp. 2d 131, 136 (D.D.C. 2008); see also Nat’l Ass’n of Home Build-

ers v. U.S. Army Corps of Eng’rs, 519 F. Supp. 2d 89, 93 (D.D.C. 2007) (this Court has

“broad discretion” in granting leave to file amicus briefs). Courts generally grant ami-

cus status when “the information offered is ‘timely and useful.’” Ellsworth Assocs.,

Inc. v. United States, 917 F. Supp. 841, 846 (D.D.C. 1996) (quoting Waste Mgmt. of

Pa. v. City of York, 162 F.R.D. 34, 36 (M.D. Pa. 1995)).

         This Court’s Local Rule 7(o) requires those wishing to file an amicus brief to

“set forth the reasons why an amicus brief is desirable, why the movant’s position is

not adequately represented by a party, and why the matters asserted are relevant to

the disposition of the case.” Amici write to support Plaintiff’s claims and also to lend

this Court their diverse perspectives as centers in law schools engaging in scholarship

and advocacy regarding issues of race and the law; as a transnational labor union

advancing workers rights; as a national union championing fairness, democracy, and

economic opportunity; as a professional association of academic workers ensuring

higher education’s contribution to the common good; and as civil rights advocates en-

gaged in a variety of civil rights litigation. The perspective and legal analysis

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provided in the amicus brief highlights the need for First Amendment protections for

the broad and varied civil rights advocacy undertaken by amici.

      Amici discuss how the First Amendment protects participants in litigation

against government retaliation—as the United States Supreme Court determined

when Southern States attempted to interfere with groups advocating for racial equal-

ity during the Civil Rights Movement. Amici also write to underscore the danger of

the Administration’s casual invocation of national security to shield its retaliatory

actions against Perkins Coie and other law firms for their work on causes disfavored

by the Administration. Amici remind the Court of the lessons learned from Korematsu

v. United States, 323 U.S. 214 (1944), and the more recent Guantanamo cases, as both

provide cautoionary lessons about judicial deference to unsubstantiated claims of na-

tional security. These historical examples of executive overreach, as well as the role

the courts have played in ensuring the rule of law, are critical to this Court’s resolu-

tion of the constitutional issues raised by the Executive Order targeting Perkins Coie.

      This Court’s local rules also require an amicus brief “to be filed in a timely

manner such that it does not unduly delay the Court’s ability to rule on any pending

matter.” LCivR 7(o). Here, the proposed amicus brief supports the Plaintiff’s motion

for summary judgment and is, consistent with FRAP 29, filed seven days after Plain-

tiff’s motion (ECF No. 39), and seven days before April 16, 2025—the filing deadline

this Court set for the parties to respond to each side’s dispositive motions (ECF No.

26), thus affording each an opportunity to address any of amici’s arguments in re-

sponsive briefing. The filing of this amicus brief in advance of the April 16, 2025



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responsive briefing deadline will guard against any delay in this Court’s ability to

rule on this matter.


Respectfully submitted,

                                             /s/ Jim Davy
     Charlotte Garden*                    Jim Davy
     University of Minnesota Law          ALL RISE TRIAL & APPELLATE
       School†                            P.O. Box 15216
     Walter F. Mondale Hall               Philadelphia, PA 19125
     229 S. 19th Ave.                     (215) 792-3579
     Minneapolis, MN 55455                jimdavy@allriselaw.org

     Jeremiah Chin*                       Robert S. Chang*
     University of Washington School      Susan McMahon*
       of Law†                            THE FRED T. KOREMATSU CENTER FOR
     William H. Gates Hall, Rm. 310          LAW AND EQUALITY
     P.O. Box 353020                      University of California–Irvine
     Seattle, WA 98195-3020               401 E. Peltason Dr., Suite 1000
                                          Irvine, CA 92697
     Jessica Levin*                       (949) 824-3034
     Melissa Lee*                         rchang@law.uci.edu
     CENTER FOR CIVIL RIGHTS AND
       CRITICAL JUSTICE                   * pro hac vice applications forthcoming
     RONALD A. PETERSON LAW CLINIC        † institutional affiliations listed for iden-
     Seattle University School of Law        tification purposes only
     901 12th Avenue
     Seattle, WA 98122

                             Counsel for Amici Curiae

April 9, 2025




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                          CERTIFICATE OF SERVICE

   I certify that on April 9, 2025, this motion for leave was filed using the Court’s

CM/ECF system. All participants in the case are registered CM/ECF users and will

be served electronically via that system.



                                             /s/ Jim Davy

                                             Jim Davy
